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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

              v.                                    Case No. 21-CR-91 (RCL)

CRAIG MICHAEL BINGERT,
ISAAC STEVE STURGEON and
FAYLOR JAMES JOIINAT�

              Defendants.

                               TRIAL SCHEDULING ORDER

   1. TRIAL: Trial of Defendants Bingert and Sturgeon will begin on May 15, 2023.


  2. EXPERT WITNESSES. The parties shall disclose any expert witnesses in accordance
       with Fed. R. Crim. Pro 16 by April 24, 2023.


  3.   FED. R. EVID. 404(b) NOTICE. If the United States intends to offer Rule 404(b)
       evidence, the United States shall provide notice of this evidence on or before April
       24, 2023.


  4. EXHIBIT LISTS. The parties shall exchange lists of exhibits they intend to use in their
       cases-in-chief by May 5, 2023.

  5. GIGLIO AND JENCKS ACT MATERIAL. The United States shall provide material
       to be disclosed under Giglio v. United States, 405 U.S. 150 (1972), and its progeny, on
       or before May 5, 2023, and has agreed to provide material pursuant to the Jencks Act,
       18 U.S.C. § 3500 on or before the same date.


  6. MOTIONS IN LIM/NE. All motions in limine shall be filed on or before May 1,
       2023. Responses shall be filed not later than May 8, 2023. Any replies shall be due
       May 10, 2023.



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